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     childhood lead exposure. Despite these adversities, Mr. Thompson developed strong family bonds, prosocial work
     experiences, and now exhibits an enduring desire for connection and change.

     Ziyon has experienced numerous Adverse Childhood Experiences (ACEs), which refer to potentially traumatic events
     in childhood—such as abuse, neglect, or household dysfunction—that can disrupt healthy development and increase
     the risk of emotional, behavioral, and health problems later in life. Ziyon has taken a course about ACEs, and he was
     motivated to ask his attorneys to send me something that he learned about them.

     ACADEMIC AND OCCUPATIONAL HISTORY:

     According to school records, Mr. Thompson struggled academically from an early age, repeating first grade at James
     Mosher Elementary due to behavioral problems and frequent suspensions. Eighth-grade standardized test scores in
     reading, writing, and math were low. He later attended a vocational high school and scored 730 on the SAT (350
     reading, 380 math), which is lower than 99% of test takers.20

     In January 2012, while enrolled in Edgewood Elementary’s PRIDE program, Mr. Thompson underwent cognitive
     testing (WISC-IV) that yielded a Full Scale IQ of 88 (Low Average), with index scores of Verbal Comprehension 93
     (Average), Perceptual Reasoning 77 (Borderline), Working Memory 83 (Low Average), and Processing Speed 115
     (High Average). Academic testing (Woodcock-Johnson IV) later showed a 4.8-grade equivalent in reading (5-year
     gap), 8.1-grade equivalent in math (1-year gap), and 4.2-grade equivalent in writing (5-year gap), with stronger math
     skills and persistent difficulties in reading and writing. His most recent formal testing (KTEA-II, March 2018) showed
     a combined reading level at the late 3rd-grade level. Despite these deficits, Mr. Thompson showed better
     comprehension when material was presented in small segments.

     Educational supports included special education under “Other Health Impairment,” graphic organizers, extended
     time, individualized instruction, and tutoring. Mr. Thompson was 20 years old in the 12th grade, reading at a 3rd-
     grade level, with math and writing at 7th- and 5th-grade levels, respectively. He was completed his high school
     diploma at the American Academy of Pinecrest while incarcerated in 2022.

     Mr. Thompson reported previous employment at CVS, McDonald’s, a hospital, Safeway, and Chipotle.

     PSYCHIATRIC AND BEHAVIORAL ASSESSMENTS:

     According to records from Johns Hopkins Hospital, Mr. Thompson was referred for a psychiatric evaluation at age 7
     for persistent school behavioral problems. He was diagnosed with disruptive behavior disorder, parent-child
     relationship problem, and rule-out ADHD and learning disorders. Recommendations included behavioral therapy,
     parent management training, and neuropsychological testing.

     Mr. Thompson did not receive a neuropsychological evaluation until 2023, when board certified neuropsychologist
     Joette James evaluated him in the context of the instant offense. According to Dr. James’ evaluation, Mr. Thompson
     met criteria for Unspecified Neurodevelopmental Disorder (315.9), Specific Learning Disorders in reading and math,
     and ADHD, Combined Presentation (314.01). His WAIS-IV Full Scale IQ was 67 (1st percentile, Extremely Low),
     with Borderline to Extremely Low scores across verbal comprehension, perceptual reasoning, working memory, and


20
     College Board. (2018). SAT Suite of Assessments annual report: Total group. The College Board.

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     incorrect or symptomatic responses (i.e., malingering) can be ruled out. This is primarily performed by administering
     assessments designed to measure performance and symptom validity, examining score profiles within tests designed
     to measure other abilities, and monitoring unusual test behaviors or performances that are drastically inconsistent
     with known neurological conditions. To assess performance and symptom validity, I selected stand-alone measures,
     embedded measures, and cut off scores a priori and used scores that were appropriate for the examinee’s population. I
     chose widely accepted measures with strong sensitivity and specificity rates and considered other conditions that
     could create inaccurate validity testing results.

             Results.

     Mr. Thompson passed numerous measures of performance validity on this exam, and there was no indication of
     lack of effort or purposeful poor performance. Thus, the following test scores can be considered to be a valid
     reflection of his current abilities.

     NEUROPSYCHOLOGICAL TESTING:

             Methods.

     Mr. Thompson was administered numerous measures of cognitive and emotional functioning that were appropriate
     for the referral question and his background. It is not uncommon for neuropsychological test selection to vary
     depending on the needs of the individual completing the test and the referral source. While many of the same measures
     are often selected for evaluation of a particular disease, disorder, or condition, it is through clinical judgment that
     certain measures are and are not selected, and this methodology is a common and standard practice in the field of
     neuropsychology.

             Cognitive Test Results21

     Testing of Mr. Thompson’s thinking and problem-solving abilities showed a mixed pattern. On the Tower of London
     task, which looks at planning and problem-solving, Mr. Thompson’s accuracy was below average, and he was
     somewhat inefficient, though their overall speed was typical. Notably, he had a lot of trouble following the task rules,
     which suggests difficulty with self-monitoring or impulse control. On the D-KEFS Word Context Test, which
     examines verbal reasoning and the ability to come up with and adjust guesses, Mr. Thompson had significant
     difficulty, showing a lot of repeated mistakes and very few correct guesses, indicating struggles with flexibility and
     adjusting to feedback. On the Wisconsin Card Sorting Test, which looks at the ability to shift thinking when rules
     change, Mr. Thompson performed in the average range, showing he could adjust strategies when needed. However,
     on the NAB Mazes task, which assesses visual planning and problem-solving, Mr. Thompson’s performance was
     quite low, suggesting challenges with organizing and planning visual tasks.

             Self-Report Questionnaires

     The Social Problem-Solving Inventory (SPSI-R) looks at how people handle everyday challenges, including how
     they understand problems, make decisions, and evaluate their solutions. Mr. Thompson’s results suggest he often

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     A complete table of test results is provided at the end of this report. Results are summarized here.

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     consequences, and holding back urges. For example, they might speed through traffic not just because it’s risky, but
     because they have difficulty pausing to consider how unlikely it is that this choice will actually save them meaningful
     time without negative consequences. This type of symptom is responsive to treatment and will likely improve with
     age. Fortunately, proper treatment for ADHD (e.g., with appropriate medication and/or therapy) has been widely
     shown to reduce the incidence of drug and alcohol abuse.28,29,30,31 For this reason, Mr. Thompson has a strong
     prognosis for improvement in the poor decision-making abilities and processing deficits that were likely implicated
     in his present legal situation, and effective treatment for ADHD is likely to mitigate those concerns.

     Mr. Thompson’s executive functioning profile is consistent with this background. He demonstrated below-average
     planning and problem-solving on the Tower of London task, significant difficulty with verbal reasoning and
     flexibility on the D-KEFS Word Context Test, average ability to shift thinking on the Wisconsin Card Sorting Test,
     and markedly poor performance on visual planning tasks such as the NAB Mazes. Specifically, his performance on
     the Word Context Test indicates that he has a very difficult time integrating more than one concept at a time, such
     that he is likely to act on the most recent information he heard. He also had a slow and inconsistent ability to question
     that decision when presented new information. Self-report measures further highlight Mr. Thompson’s tendency to
     view problems as threatening, experience high stress, struggle to define problems, make decisions without fully
     considering consequences, and rely on others to resolve challenges.

     Importantly, Mr. Thompson’s functioning should also be understood within the context of adolescent brain
     development. Brain maturation continues into the mid-20s, particularly in the prefrontal cortex, which supports
     impulse control, planning, and decision-making. During this period, emotional and reward systems mature earlier
     than cognitive control systems, creating a “maturity gap” that increases susceptibility to peer influence, emotional
     reactivity, and risk-taking. Under stress or temptation, young adults like Mr. Thompson are more prone to impulsive
     or poorly regulated decisions. While neuroscience cannot determine individual legal responsibility, this body of
     research has been influential in informing policies and court decisions recognizing the reduced culpability and greater
     rehabilitation potential of young adults.

     Taken together, Mr. Thompson’s neurodevelopmental, cognitive, and emotional profile paints a picture of an
     individual whose decision-making deficits, low self-awareness, and susceptibility to impulsivity have been shaped
     by biological, environmental, and developmental factors. Mr. Thompson has shown notable motivation for change
     during his incarceration, and completed a substantial number of rehabilitation programs, all of which reflect his
     commitment to personal growth and readiness to pursue treatment. With appropriate interventions, Mr. Thompson
     has the potential for meaningful improvement in his functioning and a reduced likelihood of reoffending. Mr.
     Thompson is likely to benefit from a combination of substance use treatment (commonly available in prison and the
     community), individual psychotherapy to address the impact of adverse childhood experiences (ACEs), and ADHD


28
   Hammerness, P., Petty, C., Faraone, S. V., & Biederman, J. (2017). Do stimulants reduce the risk for alcohol and substance use
in youth with ADHD? A secondary analysis of a prospective, 24-month open-label study of osmotic-release
methylphenidate. Journal of attention disorders, 21(1), 71-77.
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   Antshel, K. M., Hargrave, T. M., Simonescu, M., Kaul, P., Hendricks, K., & Faraone, S. V. (2011). Advances in understanding
and treating ADHD. BMC medicine, 9, 1-12.
30
   Boland, H., DiSalvo, M., Fried, R., Woodworth, K. Y., Wilens, T., Faraone, S. V., & Biederman, J. (2020). A literature review
and meta-analysis on the effects of ADHD medications on functional outcomes. Journal of Psychiatric Research, 123, 21-30.
31
   Knouse, L. E., & Fleming, A. P. (2016). Applying cognitive-behavioral therapy for ADHD to emerging adults. Cognitive and
Behavioral Practice, 23(3), 300-315.

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 medication upon release can provide crucial support for improving impulse control, emotional regulation, and long-
 term decision-making.


The conclusions, opinions, and recommendations contained in this report are based on information that was available
at the time of this report’s preparation. Should additional information be forthcoming from any source, these
conclusions, opinions, and recommendations are subject to review and revision.



____________________________
 Jonathan DeRight, PhD, ABPP
 Board Certified Clinical Neuropsychologist
 Licensed Clinical Psychologist

Attachment: Tabulated results




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TABLE OF TEST RESULTS32:

    *** The numeric data presented below is intended only for use by qualified professionals and should not be interpreted without
               consideration of all the information that is contained in the rest of the neuropsychological report. ***

Test Results from the Present Evaluation:

                 Adj     Test Name                                Raw       Standard Score        Percentile     Val
                 --      Dot Counting Test
                              e-score                              10               --                 --         P
                 A       Tower of London DX
                              Total Correct                         1              80                  9
                              Total Moves                          47              82                 12
                              Total Initiation                     16              88                 21
                              Total Execution                     231              90                 25
                              Total Time                          247              98                 45
                              Rule Violations                       2              59                 <1
                 A       D-KEFS Word Context Test
                              Total Consecutively Correct           5              55                 <1
                              Repeated Incorrect Responses         16              55                 <1
                 ASE     M-WCST
                              Categories Completed                  6              91                 27
                              Perseverative Errors                  2              93                 31
                              Total Errors                          8              91                 27
                 ASE     NAB Mazes
                              Total Score                          11              75                  4
                 --      ACS Word Choice
                              Total Score                          50               --                 --          P
                 --      SPSI-R
                              PPO                                  13              104                61
                              NPO                                  27              119                90
                              PDF                                   2              64                 <1
                              GAS                                   9              93                 32
                              DM                                    3              69                  2
                              SIV                                   4              75                  5
                              RPS                                  18              72                  3
                              ICS                                  32              139               >99
                              AS                                   16              114                82


      32
        “Val” refers to measures of performance validity, with P signifying a “pass” and F signifying a “fail.” A single pass
      or fail does not constitute a decision on the validity of the overall assessment; please refer to the test validity section
      for more details. For adjusted scores, A = age, S = sex, R = race, E = education, and P = estimated premorbid IQ.
      Validity measures and score adjustments were selected a priori.

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                         SPSI-R:L                         7.3          75              5

Test Results from the evaluation of Joette James, PhD, ABPP-CN on 02/16/2023:

                      Adj   Test Name                           Standard Score   Percentile
                     A      RBANS
                                Immediate Memory                     65               <1
                                Visuospatial/Constructional          65               <1
                                Language                             44               <1
                                Attention                            53               <1
                                Delayed Memory                       52               <1
                                Total                                49               <1
                                List Learning                        60               <1
                                Story Memory                         80               9
                                Figure Copy                          90               25
                                Line Orientation                      --              <2
                                Picture Naming                        --              <2
                                Semantic Fluency                     60               <1
                                Digit Span                           75               5
                                Coding                               55               <1
                                List Recall                           --              <2
                                List Recognition                      --              <2
                                Story Recall                         80               9
                                Figure Recall                        65               <1
                     A      WAIS-IV
                                Verbal Comprehension                 70               2
                                Perceptual Reasoning                 75               5
                                Working Memory                       77               6
                                Processing Speed                     68               2
                                Full Scale IQ                        67               1
                     A      WRAT-5
                                Word Reading                         71               3
                                Math Computation                     80               9
                     A      Arithmetic (WAIS-IV)
                                Total Score                          95               37
                     A      Digit Span (WAIS-IV)
                                Total Score                          65               <1
                                RDS                                   --              --
                     A      Symbol Search (WAIS-IV)
                                Total Score                          60               <1
                     A      Coding (WAIS-IV)


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                 Total Score                          80             9
        A    D-KEFS Trail Making Test
                Visual Scanning                       95             37
                 Number Sequencing                    95             37
                 Letter Sequencing                    60             <1
                 Number-Letter Switching              55             <1
                 Motor Speed                          105            63
        A    Similarities (WAIS-IV)
                 Total Score                          70             2
        A    Vocabulary (WAIS-IV)
                 Total Score                          75             5
        A    Information (WAIS-IV)
                 Total Score                          75             5
        A    Block Design (WAIS-IV)
                 Total Score                          80             9
        A    Matrix Reasoning (WAIS-IV)
                 Total Score                          65             <1
        A    Visual Puzzles (WAIS-IV)
                 Total Score                          90             25




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